Case 1:18-cr-00337-TDS Document 31 Filed 04/02/19 Page 1 of 7
Case 1:18-cr-00337-TDS Document 31 Filed 04/02/19 Page 2 of 7
Case 1:18-cr-00337-TDS Document 31 Filed 04/02/19 Page 3 of 7
Case 1:18-cr-00337-TDS Document 31 Filed 04/02/19 Page 4 of 7
Case 1:18-cr-00337-TDS Document 31 Filed 04/02/19 Page 5 of 7
Case 1:18-cr-00337-TDS Document 31 Filed 04/02/19 Page 6 of 7
Case 1:18-cr-00337-TDS Document 31 Filed 04/02/19 Page 7 of 7
